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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE:

NEIGHBORS LEGACY HOLDINGS, INC.
XXX-XX-2791

CASE NO. 18-33836-H1-11

CHAPTER 11
DEBTOR

 

MARK SHAPIRO, TRUSTEE
OF THE UNSECURED CREDITOR
TRUST OF NEIGHBORS LEGACY
HOLDINGS, INC. AND ITS DEBTOR
AFFILIATES

PLAINTIFF ADVERSARY PROCEEDING

NO. 20-03016
vs.

CLINT CARTER, M.D., P.A., ET AL
DEFENDANTS

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MOTION TO DISMISS FOR IMPROPER JOINDER
OF MULTIPLE DEFENDANTS
OR IN THE ALTERNATIVE SEVER THE TRUSTEE'S
CLAIMS AGAINST CLINT CARTER, MD, PA

This motion seeks an order that may adversely affect you. If you oppose the
motion, you should immediately contact the moving party to resolve the dispute.
If you and the moving party cannot agree, you must file a response and send a
copy to the moving party. You must file and serve your response within 21 days
of the date this was served on you. Your response must state why the motion
should not be granted. If you do not file a timely response, the relief may be
granted without further notice to you. If you oppose the motion and have not
reached an agreement, you must attend the hearing. Unless the parties agree
otherwise, the court may consider evidence at the hearing and may decide the
motion at the hearing.

Represented parties should act through their attorney.
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TO THE HONORABLE JUDGE OR SAID COURT:

Comes now Clint Carter, M.D., P.A., one of the Defendants in the above numbered and titled
Adversary Proceeding ("Carter"), and respectfully moves the court to dismiss the Plaintiff's First
Amended Complaint (doc 4, the "Complaint") filed by Mark Shapiro, Trustee of the Unsecured
Creditor Trust of Neighbors Legacy Holdings, Inc. and its Debtor Affiliates (the "Trustee"), for
improper joinder of defendants, pursuant to Fed.R.Civ.P.20 and 21 and Fed.R.Bankr.P. 7020 and
7021, and respectfully represents: |

BACKGROUND

1. The Trustee filed this Adversary Complaint on January 24, 2020, and on February 17,
2020 the Trustee filed a First Amended Complaint (doc 4) against seventy-nine defendants, the
defendants appear to consist of both individuals and corporate or similar entities, seeking to recover
money or property of the estate pursuant to §§ 544, 547 and under State Law. The Plaintiff alleges
the named defendants received transfers of money from one or more of the fifty-one debtor entities
in amounts ranging from $4,539,281.04 to $5,281.55.

2. The Trustee seeks a monetary judgment against the defendants as noted above
pursuant to 11 U.S.C. Sections 548 and 550 for payments according to an attached schedule during
the years 2016-2018 (Amended Complaint, Exhibit A).

B There is no allegation in the Complaint of any connection between the defendants and
no allegations in the Complaint that the defendants acted in concert or that the defendants are jointly
and severally liable in any amounts. Each of the defendants is alleged to be liable on its own for a
specific dollar amount. There is nothing in either the Complaint or the Exhibit which would connect

any specific defendant to any particular Debtor entity, and certainly no allegation that connects any

defendant to any other defendant.
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Joinder of All of the Trustee's Fraudulent Transfer Avoidance Claims
Into One Omnibus Complaint is Improper
Under Fed.R.Civ. P. 20 and Fed.R.Bankr.P. 7020

4, Fed.R.Bankr.P. 7020 incorporates Fed.R.Civ.P. 20 in adversary proceedings. Rule
20(a)(2) permits the permissive joinder of multiple parties by providing in relevant part:

(2) Persons-as well as a vessel, cargo or other propeliy subject to

admiralty process in rem-- may be joined in one action as defendants if:
(A) any right to relief is asserted against them jointly, severally,
or in the alternative with respect to or arising out of the same
transaction, occurrence, or series of transactions or occurrences; and
(B) any question of law or fact common to all defendants will
arise in the action.

5. "Rule 20(a) has two tests for joinder: 1) the occurrence of some question of fact or
law common to all parties; and 2) the existence of a right to relief predicated upon or arising out of
a single transaction or occurrence or series thereof. Both tests must be satisfied if joinder is to be
permitted." Jn re Conners, 125 B.R. 611,614 (Bankr. S.D. Cal. 1991); accord, Holcomb v. Norwest
Financial, Inc., 217 B.R. 239,241 (N.D. Ill. 1998). Although Rule 20 is liberally construed, a court
does not have the discretion to permit joinder when a party has failed to meet both tests. Gruening
v. Sucic, 89 F.R.D. 573 (E.D. Pa 1981). Of these two tests, the requirement of "transactional
relatedness" is more difficult to establish than the requirement of a common question. 4 Moore's
Federal Practice 3d, §§ 20.02[1][a], 20.05[1] (1999).

6. The Trustee's Complaint does not assert any right to relief against the defendants

jointly, severally, or in the alternative, with respect to or arising out of the same transaction,
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occurrence, or series of transactions or occurrence. Nor does the Trustee's Complaint allege any
question of law or fact common to all defendants. Each defendant is alleged to be the recipient of
different transactions. The only thing that the defendants have in common is that the Trustee alleges
that the defendants are all liable upon the same theory, that each defendant received separate
transfers from one or more of the debtor entities that are alleged to have been made in fraud of the
rights of creditors,

7. The plaintiff may not join multiple defendants in one lawsuit simply because they are
all purportedly liable to the plaintiff on similar or identical causes of action. Joinder of defendants
under Rule 20 requires: ( 1) a claim for relief asserting joint, several, or alternative liability and
arising from the same transaction, occurrence, or series of transactions or occurrences, and (2)a
common question of law or fact. Tapscott v. MS Dealer Serv., 77 F .3d 1353, 1360 (11th Cir. 1996),
ovelruled on other grounds, Cohen v. Office Depot, Inc.,204 F.3d 1069 (11th Cir. 2000). Misjoinder
occurs when there is no common question of law or fact or when the events that give rise to the
plaintiffs claims against the defendants do not stem from the same transaction. DirecTV, Inc. v. Leto,
467 F.3d 842, 844 (3rd Cir. 2006).

8. Courts have held that a cable television provider could not join 104 individuals who
allegedly received unauthorized reception of the plaintiff's pay-per-view programming without an
allegation that the defendants were acting jointly. Tele-Media Co. of Western Conn. v. Antidormi,
179 F.R.D. 75 (D.Conn. 1998); accord Movie Systems, Inc. v. Abel, 99 F.R.D. 129 (D. Minn. 1983).
Similarly, in Kenvin v. Newburger, Loeb Co., 37 F.R.D. 473 (S.D.N.Y. 1965), a lawsuit brought
against four stockholders was held to be misjoined, even though the plaintiff asserted that each

defendant violated the same statutory provisions. Id, at 475. In the case of Federal Housing Adm'r
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v. Christianson, 26 F. Supp 419 (D. Conn. 1939, the court held that the plaintiffs attempt to collect
on two different promissory notes from different obligors could not be joined in one lawsuit.

9, Merely engaging in the same wrongful conduct, without any other apparent
connection between Defendants is insufficient to satisfy the transactional requirements of Rule 20.
Where transactions involve different parties, different contracts, different terms of dealing, they are
not the same series under Rule 20, notwithstanding that the alleged wrongdoing is effectuated in the
same manner. Michaels Building Co. v. Ameritrust Co., N.A., 848 F.2d. 674 (6"™ Cir. 1988).

10. These principals apply in bankruptcy cases in fraudulent conveyance, see U.S. v. Katz,
494 F. Supp. 2d 645, 648 (S.D. Ohio, 2006). The court in Katz characterized the fraudulent
conveyance against one defendant as “separate and distinct” from the fraudulent conveyances of the
other defendant.

11. Asnoted by Bankymed Emergency Management PLLC, “Twenty of the defendants
are sued for amounts which are less than $25,000. Pursuant to 28 U.S.C. Section 1409(b), a trustee
in a case under title 11 may commence a proceeding arising in or related to such case to recover a
money judgment of or property worth less than $25,000, only in the district in which the defendants
reside. 28 U.S.C. Section 1409(b).” Clint Carter, M.D., P.A., is one of the Defendants, on whom,
the allegations of payment is less than $20,000.00. The amount asserted against Clint Carter, M.D.,
P.A., is for a total of $7,729.20. As a defendant is sued for less than $25,000, Clint Carter, M.D.,
P.A., asserts his right to a change of venue to the district where he resides and to that end, has filed
a Motion to Transfer Venue,

12. Although it is specified no where in the Complaint, it is not believed and is unlikely
each defendant received payments from a single Debtor entity. And, as the dates on which each of

the debtor entities became insolvent are not the same. The date on which the particular debtor entity
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which made each transfer in question became insolvent is the controlling date for determination of
the Trustee's look back periods and the applicable statutes of limitations.

13. The Trustee requested a trial by jury. Having parties and attorneys for all of the many
defendants attend discovery and court proceedings all together would overcrowd the courtroom and
make the conduct of discovery, depositions, mediations, and other pre-trial matters, and a trial on
the merits impossibly complicated. It would be an impossible burden to require attorneys for all of
the defendants to attend depositions of all of the other defendants and witnesses. The court would
have to conduct separate trials as to all of the claims against defendants who contest the Plaintiffs
Complaint.

Alternative Request for Severance

14. _ Inthe alternative, Carter requests that the Court sever the Trustee's complaint against

Carter and order a separate trial, pursuant to Fed.R.Civ.P. 20(b).
PRAYER

Wherefore, premises considered, Clint Carter, M.D., P.A. prays that the Trustee's Complaint
be dismissed pursuant to Fed.R.Bankr.P. 21 for improper joinder of multiple defendants, or in the
alternative, that the Trustee's complaint against Clint Carter, M.D., P.A. be severed and that the

Court order a separate trial of the Trustee's claims against Clint Carter, M.D., P.A.
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Respectfully submitted,

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By: Qi

CHARLES E. LAUFFER, JR.
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ATTORNEYS FOR DEFENDANT CLINT CARTER

CERTIFICATE OF SERVICE

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I hereby certify that on the 50: “day of Tun tC; , a true and correct copy of
the foregoing was this day served upon all parties of record in accordance with the Federal Rules of
Civil Procedure and/or the local rules of the United States Bankruptcy Court for the Southern District
of Texas, via e-mail via the ECF system or United States Mail, Postage Prepaid to

 

Clifford Walston
4299 San Felipe Street
Suite 300

Houston TX 77027

and all parties on the attached mailing matrix.

 

CHARLES E. LAUFFER, JR.
